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  From: Brian Chase
  Sent: Tuesday, August 29, 2017 5:49 PM
  To: Marcy LaHart <marcy@floridaanimallawyer.com>
  Subject: RE: Request for Waiver of Sun Communities' Unwritten Policy

  Marcy,

  We have a hearing in the Friedel litigation matter tomorrow, and I also have a mediation in the
  afternoon. I have hearings on Thursday and Friday of this week, as well. I am unable to agree to
  respond to a very detailed request within 24 hours. Moreover, I have previously and continue to
  express concerns re: Mr. Friedel’s alleged disability. His allegations do not match his medical records,
  which is a primary defense in our current litigation. Notwithstanding, I am providing a copy of this
  correspondence to the appropriate parties and I will be in touch soon to advise.

  Also, I want to be clear that there are no “unwritten policies.” Sun’s policies regarding emotional
  support and service animals were produced as part of our litigation.

  Thanks,

                                                               Brian C. Chase
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